UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re                                                                Case No. 18-13374 (MEW)

Aegean Marine Petroleum Network Inc., et al.,                        Jointly Administered

                                                 Debtors.
-----------------------------------------------------------x

                                      NOTICE OF APPOINTMENT OF OFFICIAL
                                      COMMITTEE OF UNSECURED CREDITORS

          William K. Harrington, United States Trustee for Region 2, pursuant to Section 1102(a) of title 11, United

States Code, hereby appoints the following unsecured creditors that are willing to serve on the Official Committee

of Unsecured Creditors of Aegean Marine Petroleum Network Inc., and its affiliated debtors-in-possession:

          1.         Deutsche Bank Trust Company Americas
                     c/o Deutsche Bank National Trust Company
                     100 Plaza One, 8th Floor
                     Mail Stop: JCY03-0801
                     Jersey City, New Jersey 07311
                     Attention: Rodney Gaughan, Vice President
                     Telephone: (201) 593-4016

          2.         U.S. Bank National Association
                     633 West Fifth Street – 24th Floor
                     Los Angeles, California 90071
                     Attention: Stephen Rivero, Vice President
                     Telephone: (213) 615-6046

          3.         American Express Travel Related Services Company, Inc.
                     200 Vesey Street
                     New York, New York 10285
                     Attention: Gianni P. Dimos, Vice President & Senior Counsel
                     Telephone: (212) 640-5130


Dated: New York, New York
        November 15, 2018
                                                                     Sincerely,

                                                                     WILLIAM K. HARRINGTON
                                                                     UNITED STATES TRUSTEE

                                                               By:    /s/ Brian S. Masumoto
                                                                     Brian Masumoto
                                                                     Trial Attorney
                                                                     Office of the United States Trustee
                                                                     U.S. Federal Office Building
                                                                     201 Varick Street, Room 1006
                                                                     New York, NY 10014
                                                                     Tel. (212) 510-0500
                                                                     Fax (212) 668-2255
